                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

EIGHT MILE STYLE, LLC; MARTIN
AFFILIATED, LLC,
                                                         Civil Case No. 19-CV-00736
               Plaintiffs,
                                                         Hon. Aleta A. Trauger
v.
                                                         JURY DEMAND
SPOTIFY USA INC.; THE HARRY FOX
AGENCY, LLC,

               Defendants.

SPOTIFY USA INC.,

               Third-Party Plaintiff,

v.

KOBALT MUSIC PUBLISHING
AMERICA, INC.,

               Third-Party Defendant.



                             STIPULATED PROTECTIVE ORDER

        Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Parties stipulate to the

following Protective Order (“Protective Order”) limiting the disclosure and use of certain

discovered information as herein provided:

1.      A.     PURPOSES AND LIMITATIONS

        Discovery in this action is likely to involve production of confidential, proprietary and/or

private information for which special protection from public disclosure and from use for any

purpose other than prosecuting this litigation may be warranted. Accordingly, the parties hereby

stipulate to and petition the Court to enter the following Stipulated Protective Order. The parties


                                                5
     Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 1 of 27 PageID #: 997
acknowledge that this Order does not confer blanket protections on all disclosures or responses to

discovery and that the protection it affords from public disclosure and use extends only to the

limited information or items that are entitled to confidential treatment under the applicable legal

principles.

       B.      GOOD CAUSE STATEMENT

       This action is likely to involve trade secrets, customer and pricing lists and other valuable

research, development, commercial, financial, technical and/or proprietary information for which

special protection from public disclosure and from use for any purpose other than prosecution of

this action is warranted. Such confidential and proprietary materials and information consist of,

among other things, confidential business or financial information, information regarding

confidential business practices, or other confidential research, development, or commercial

information (including information implicating privacy rights of third parties), information

otherwise generally unavailable to the public, or which may be privileged or otherwise protected

from disclosure under state or federal statutes, court rules, case decisions, or common law.

Accordingly, to expedite the flow of information, to facilitate the prompt resolution of disputes

over confidentiality of discovery materials, to adequately protect information the parties are

entitled to keep confidential, to ensure that the parties are permitted reasonable necessary uses of

such material in preparation for and in the conduct of trial, to address their handling at the end of

the litigation, and serve the ends of justice, a protective order for such information is justified in

this matter. It is the intent of the parties that information will not be designated as confidential for

tactical reasons and that nothing be so designated without a good faith belief that it has been




                                                  6
   Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 2 of 27 PageID #: 998
maintained in a confidential, non-public manner, and there is good cause why it should not be part

of the public record of this case.

       C.      ACKNOWLEDGMENT OF PROCEDURE FOR FILING UNDER SEAL

       The parties further acknowledge, as set forth in Section 13.3 below, that this Stipulated

Protective Order alone does not entitle them to file confidential information under seal. To the

extent that a pleading or other paper references an exhibit designated for protection under this

Protective Order, then the pleading or other paper shall comply with Section 5.07 of the Amended

Administrative Practices and Procedures for Electronic Case Filing for the United States District

Court for the Middle District of Tennessee [Administrative Order No. 167-1], and any other

applicable rules and orders.

       The parties further acknowledge that this Court applies the following standard for sealing

documents in the record: “[t]he proponent of sealing must provide compelling reasons to seal the

documents and demonstrate that the sealing is narrowly tailored to those reasons—specifically by

‘analyz[ing] in detail, document by document, the propriety of secrecy, providing reasons and legal

citations.’” Beauchamp v Federal Home Loan Mortgage Co., 658 Fed. Appx. 202, 207 (6th Cir.

2016) (quoting Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299, 305-06 (6th

Cir. 2016)). The parties’ mere designation of Disclosure or Discovery Material as

“CONFIDENTIAL” or “CONFIDENTIAL – COUNSEL’S EYES ONLY” does not, without the

submission of competent evidence by declaration, establishing that the material sought to be filed

under seal qualifies as confidential, privileged, or otherwise protectable, constitute good cause.

       For each item or type of information, document, or thing sought to be filed or introduced

under seal in connection with a dispositive motion or trial, the party seeking protection must

articulate compelling reasons, supported by specific facts and legal justification, for the requested



                                                 7
   Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 3 of 27 PageID #: 999
sealing order. Again, competent evidence supporting the application to file documents under seal

must be provided by declaration.

         Any document that is not confidential, privileged, or otherwise protectable in its entirety

will not be filed under seal if the confidential portions can be redacted. If documents can be

redacted, then a redacted version for public viewing, omitting only the confidential, privileged, or

otherwise protectable portions of the document, shall be filed. Any application that seeks to file

documents under seal in their entirety should include an explanation of why redaction is not

feasible.

2.       DEFINITIONS

         2.1    Action: the above-captioned action currently pending in the United States District

Court for the Middle District of Tennessee.

         2.2    Challenging Party: a Party or Non-Party that challenges the designation of

information or items under this Order.

         2.3    Confidential Information or Items: information (regardless of how it is generated,

stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil

Procedure 26(c), and as specified above in the Good Cause Statement.

         2.4    Counsel: Outside Counsel of Record and House Counsel (as well as their support

staff). House Counsel shall also include Plaintiffs’ transactional counsel Mark Levinsohn and his

associates and support staff, provided Mr. Levinsohn signs the “Acknowledgement and Agreement

to be Bound” (Exhibit A).

         2.5    Designating Party: a Party or Non-Party that designates information or items that it

produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “CONFIDENTIAL

– COUNSEL’S EYES ONLY”.



                                                 8
     Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 4 of 27 PageID #: 1000
       2.6     Disclosure or Discovery Material: all items or information, regardless of the

medium or manner in which they are generated, stored, or maintained (including, among other

things, testimony, transcripts, and tangible things), that are produced or generated in disclosures

or responses to discovery in this Action.

       2.7     Expert: a person with specialized knowledge or experience in a matter pertinent to

the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

consultant in this Action.

       2.8     House Counsel: attorneys who are employees of a Party to this Action. House

Counsel does not include Outside Counsel of Record or any other outside counsel other than Mark

Levinsohn and his associates and support staff.

       2.9     Non-Party: any natural person, partnership, corporation, association or other legal

entity not named as a Party to this Action.

       2.10    Outside Counsel of Record: attorneys who are not employees of a Party to this

Action but are retained to represent or advise a party to this Action and have appeared in this

Action on behalf of that party or are affiliated with a law firm that has appeared on behalf of that

Party, and such attorneys’ support staff.

       2.11    Party: any party to this Action, including all of its officers, directors, employees,

consultants, retained experts, affiliates, and Outside Counsel of Record (and their support staffs).

       2.12    Producing Party: a Party or Non-Party that produces Disclosure or Discovery

Material in this Action.

       2.13    Professional Vendors: persons or entities that provide litigation support or

administrative services (e.g., photocopying, videotaping, translating, preparing exhibits or




                                                  9
  Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 5 of 27 PageID #: 1001
demonstrations, and organizing, storing, or retrieving data in any form or medium) and their

employees and subcontractors.

         2.14   Protected Material: any Disclosure or Discovery Material that is designated as

“CONFIDENTIAL” or “CONFIDENTIAL – COUNSEL’S EYES ONLY”. Protected Material is

“CONFIDENTIAL” if it is information that is non-public, proprietary, commercially sensitive,

and/or subject to third party privacy or confidentiality restrictions. Protected Material is

“CONFIDENTIAL – COUNSEL’S EYES ONLY” if it is information that qualifies as

“CONFIDENTIAL” and is extremely sensitive, the disclosure of which to another party would

create risk of competitive injury. The “CONFIDENTIAL – COUNSEL’S EYES ONLY”

designation is limited to confidential and sensitive matters of a proprietary business or technical

nature that might be of value to a potential competitor of the Producing Party that the Producing

Party contends must be protected from disclosure to other parties or third parties. The

“CONFIDENTIAL – COUNSEL’S EYES ONLY” designation is intended to be used sparingly.

         2.15   Receiving Party: a Party that receives Disclosure or Discovery Material from a

Producing Party.

         2.16   Source Code Material: material that contains or substantively relates to computer

source code and/or live data (that is, data as it exists residing in a database or databases) and

documents containing source code or algorithms and data upon which the source code is based.

3.       SCOPE

         The protections conferred by this Stipulation and Order cover not only Protected Material

(as defined above), but also (1) any information copied or extracted from Protected Material; (2)

all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

conversations, or presentations by Parties or their Counsel that might reveal Protected Material.



                                                  10
     Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 6 of 27 PageID #: 1002
         This Order does not contemplate the production of Source Code Material. The Parties do

not contemplate the production of Source Code Material in this Action. In the event a Party

requests that another Party make available Source Code Material, the Requesting Party shall notify

all Parties before engaging the Producing Party in negotiations regarding a separate source code

protective order and all Parties will collectively negotiate a protective order governing the

production of Source Code Material. No Party is required to produce or make available for

inspection any Source Code Material until the Court has entered a separate protective order

governing the treatment of Source Code Material.

4.       DURATION AND USE OF PROTECTED MATERIAL

         Once a case proceeds to trial, information that was designated as CONFIDENTIAL or

maintained pursuant to this protective order used or introduced as an exhibit at trial will be

presumptively available to all members of the public, including the press, unless compelling

reasons supported by specific factual findings to proceed otherwise are made to the trial judge in

advance of the trial. See Nat’l Polymer Prod., Inc. v. Borg-Warner Corp., 641 F.2d 418, 421 (6th

Cir. 1981) (reiterating “well-established principle . . . that the release of information in open trial

is a publication of that information [and] . . . operates as a waiver of any rights a party had to

restrict its further use.”). Accordingly, the terms of this protective order do not extend beyond the

commencement of the trial. Sufficiently prior to trial, the parties will meet and confer to address

the treatment of any Protected Material at trial.

5.       DESIGNATING PROTECTED MATERIAL

         5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party

or Non-Party that designates information or items for protection under this Order must take care

to limit any such designation to specific material that qualifies under the appropriate standards.



                                                    11
     Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 7 of 27 PageID #: 1003
The Designating Party must designate for protection only those parts of material, documents, items

or oral or written communications that qualify so that other portions of the material, documents,

items or communications for which protection is not warranted are not swept unjustifiably within

the ambit of this Order.

       Indiscriminate or routinized designations are prohibited. Designations that are shown to be

clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily

encumber the case development process or to impose unnecessary expenses and burdens on other

parties) may expose the Designating Party to sanctions. If it comes to a Designating Party’s

attention that information or items that it designated for protection do not qualify for protection,

that Designating Party must promptly notify all other Parties that it is withdrawing the inapplicable

designation.

       5.2      Manner and Timing of Designations. Except as otherwise provided in this Order

(e.g., the second paragraph of Section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

       Designation in conformity with this Order requires:

                (a)    for information in documentary form (e.g., paper or electronic documents,

but excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party affix at a minimum the legend “CONFIDENTIAL” or “CONFIDENTIAL – COUNSEL’S

EYES ONLY” (hereinafter the “CONFIDENTIALITY LEGEND”) to each page that contains

protected material. If only a portion of the material on a page qualifies for protection, the Producing

Party also must clearly identify the protected portion(s) (e.g., by making appropriate markings in

the margins).



                                                  12
  Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 8 of 27 PageID #: 1004
       A Party or Non-Party that makes original documents available for inspection need not

designate them for protection until after the inspecting Party has indicated which documents it

would like copied and produced. During the inspection and before the designation, all of the

material made available for inspection shall be deemed “CONFIDENTIAL – COUNSEL’S EYES

ONLY.” After the inspecting Party has identified the documents it wants copied and produced, the

Producing Party must determine which documents, or portions thereof, qualify for protection under

this Order. Then, before producing the specified documents, the Producing Party must affix the

CONFIDENTIALITY LEGEND to each page that contains Protected Material. If only a portion

of the material on a page qualifies for protection, the Producing Party also must clearly identify

the protected portion(s) (e.g., by making appropriate markings in the margins).

               (b)     for testimony given in depositions, that the Designating Party identifies the

Disclosure or Discovery Material and all protected testimony on the record before the close of the

deposition. Alternatively, within thirty (30) days of receipt of the final certified transcript of any

deposition, any Party or Non-Party may request that the original and all copies of the deposition

transcript, in whole or in part, be marked “CONFIDENTIAL” or “CONFIDENTIAL –

COUNSEL’S EYES ONLY”. Until thirty (30) days after the final certified transcript of any

deposition, the transcript of that deposition will be subject to the protections granted to

“CONFIDENTIAL – COUNSEL’S EYES ONLY” material. In the event a deposition is

videotaped, the original and all copies of the videotape shall be marked by the video technician to

indicate that the contents of the videotape are subject to this Order, substantially along the lines of

“This videotape contains confidential testimony used in this Action and is not to be viewed or the

contents thereof to be displayed or revealed except pursuant to the terms of the operative Protective

Order in this Action or pursuant to written stipulation of the Parties.”



                                                  13
  Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 9 of 27 PageID #: 1005
               (c)     for information produced in some form other than documentary and

for any other tangible items, that the Producing Party affix in a prominent place on the exterior of

the container or containers in which the information is stored the “CONFIDENTIALITY

LEGEND”. If only a portion or portions of the information warrants protection, the Producing

Party, to the extent practicable, shall identify the protected portion(s).

               (d)     for electronic information produced in native format or another format that

does not permit designation of pages, that the Producing Party include the CONFIDENTIALITY

LEGEND in the associated metadata, if possible, and on the placeholder page. If only a portion or

portions of the information warrants protection, the Producing Party, to the extent practicable, shall

identify the protected portion(s).

         5.3   Inadvertent Failures to Designate. Inadvertent failure to timely designate material

as “CONFIDENTIAL” or “CONFIDENTIAL – COUNSEL’S EYES ONLY” shall not constitute

a waiver of the Producing Party’s ability to designate material as Confidential Information at a

later time. Any party that inadvertently or unintentionally produces Confidential Information

without designating it as Protected Material may request destruction of that Protected Material by

notifying the recipient(s), as soon as reasonably possible after the Producing Party becomes aware

of the inadvertent or unintentional disclosure, and providing replacement Protected Material that

is properly designated. The recipient(s) shall then destroy all copies of the inadvertently or

unintentionally produced Protected Material and any documents, information or material derived

from or based thereon. Upon correction of a designation, the Receiving Party must make

reasonable efforts to assure that the material is treated in accordance with the provisions of this

Order.




                                                  14
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 10 of 27 PageID #: 1006
       5.4       Changes to Designations.      A party may upward designate (i.e., change any

documents without a designation to a designation of “CONFIDENTIAL” or “CONFIDENTIAL-

COUNSEL’S EYES ONLY” ) any Disclosure or Discovery Material produced by any other Party

or Non-Party, provided that said Disclosure or Discovery Material contains the upward designating

party’s own Protected Material, or otherwise is entitled to protective treatment under Fed. R. Civ.

P. 26(c). Upward designation shall be accomplished by providing written notice to all parties

identifying (by Bates number or other individually identifiable information) the Disclosure or

Discovery Information to be re-designated. Any party may object to the upward designation of

Disclosure or Discovery Material pursuant to the procedures set forth herein regarding challenging

designations.

6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       6.1       Timing of Challenges. Any Party or Non-Party may challenge a designation of

confidentiality at any time prior to the latest date by which the parties are to file motions for

summary judgment pursuant to the Court’s Scheduling Order.

       6.2       Meet and Confer. The Challenging Party shall initiate the dispute resolution process

under Local Rule 37.01.

       6.3       Burden of Persuasion. The burden of persuasion in any such challenge proceeding

shall be on the Designating Party. Frivolous challenges, and those made for an improper purpose

(e.g., to harass or impose unnecessary expenses and burdens on other parties) may expose the

Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn the

confidentiality designation, all parties shall continue to afford the material in question the level of

protection to which it is entitled under the Producing Party’s designation until the Court rules on

the challenge.



                                                  15
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 11 of 27 PageID #: 1007
7.        ACCESS TO AND USE OF PROTECTED MATERIAL

          7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed or

produced by another Party or by a Non-Party in connection with this Action only for prosecuting,

defending or attempting to settle this Action. Such Protected Material may be disclosed only to the

categories of persons and under the conditions described in this Order. When the Action has been

terminated, a Receiving Party must comply with the provisions of Section 14 below (FINAL

DISPOSITION).

          Protected material must be stored and maintained by a Receiving Party at a location and in

a secure manner that ensures that access is limited to the persons authorized under this Order.

          7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

information or item designated “CONFIDENTIAL” only to:

                 (a)    the Parties to this Action;

                 (b)    the Receiving Party’s Outside Counsel of Record in this Action, as well as

employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

information for this Action;

                 (c)    the officers, directors, and employees (including House Counsel and in-

house legal staff) of the Receiving Party to whom disclosure is reasonably necessary for this

Action;

                 (d)    Experts (as defined in this Order) of the Receiving Party to whom disclosure

is reasonably necessary for this Action and who have signed the “Acknowledgment and Agreement

to Be Bound” (Exhibit A), provided that:




                                                  16
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 12 of 27 PageID #: 1008
                       (1)     such Experts are not presently employed by the Parties hereto for

purposes other than this Action;

                       (2)     the Party seeking to disclose such information shall also provide the

Producing Party with an executed copy of the “Acknowledgment and Agreement to Be Bound”

(Exhibit A) prior to any such disclosure.

                       (3)     Within five (5) days of receipt of the executed copy of the

“Acknowledgement and Agreement to Be Bound” (Exhibit A) required by Sections 7.2(d)(2), the

Producing Party or Parties may object in writing to disclosure of Protected Material to the Expert

for good cause. For purposes of this section, what constitutes “good cause” is in dispute between

the Parties and is addressed in the Case Management Order. In the absence of an objection at the

end of the five (5) day period, the Protected Material may be disclosed to the Expert under this

Protective Order.

       In the event of a timely objection, the Parties agree to promptly confer and use good faith

to resolve any such objection. If the Parties are unable to resolve any objection, the objecting Party

may file a motion with the Court within five (5) days of the notice or within such other time as the

Parties may agree, seeking a protective order with respect to the proposed disclosure. No disclosure

shall occur until all such objections are resolved by agreement or Court order. To the extent

necessary, all deadlines relating to the challenged Expert (including the filing of the Expert’s report

and any rebuttals thereto) shall be extended by the amount of time during which any such motion

is pending before this Court. Should the aforementioned motion be filed, and granted, the party

losing the motion shall be given a reasonable time to be agreed upon by the Parties to find a

replacement Expert if it so desires. All expert discovery deadlines and all subsequent deadlines




                                                  17
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 13 of 27 PageID #: 1009
contained within the Case Management Order will be extended by any additional time provided to

a Party to find a replacement Expert.

       An initial failure to object to an Expert under this paragraph shall not preclude the non-

objecting Party from later objecting to continued access by that Expert for good cause as discussed

above. If an objection is made, the Parties shall meet and confer via telephone or in person within

five (5) days following the objection and attempt in good faith to resolve the dispute informally.

If the dispute is not resolved, the Party objecting to the disclosure will have five (5) days from the

date of the meet and confer to seek relief from the Court. The designated Expert may continue to

have access to information that was provided to such Expert prior to the date of the objection. If a

later objection is made, no further Protected Material shall be disclosed to the Expert until the

Court resolves the matter or the Producing Party withdraws its objection. Notwithstanding the

foregoing, if the Producing Party fails to move for a protective order within five (5) business days

after the meet and confer, further Protected Material may thereafter be provided to the Expert;

               (e)     Non-Parties (as defined in this Order) to whom the Receiving Party believes

disclosure is reasonably necessary for this Action and who have signed the “Acknowledgment and

Agreement to Be Bound” (Exhibit A), provided that:

                       (1)     Before making any disclosure to any Non-Party, the Receiving Party

seeking to disclose such information shall provide the Producing Party with written notice that

includes: (i) the name of the Non-Party; (ii) the present employer and title of the Non-Party; (iii)

an up-to-date curriculum vitae of the Non-Party, though if no up-to-date curriculum vitae of the

Non-Party exists, then the Receiving Party shall provide a current LinkedIn profile or similar

document; (iv) an identification of the specific documents by Bates Number that the Receiving

Party wishes to disclose to the Non-Party.



                                                 18
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 14 of 27 PageID #: 1010
                       (2)         the Party seeking to disclose such information shall also provide the

Producing Party with an executed copy of the “Acknowledgment and Agreement to Be Bound”

(Exhibit A) prior to any such disclosure.

                       (3)         Within five (5) days of receipt of the written notice required by

7.2(e)(1) and an executed copy of the “Acknowledgment and Agreement to Be Bound” (Exhibit

A) required by Section 7.2(e)(2), the Producing Party or Parties may object in writing to the

disclosure of Protected Material to the Non-Party and provide a brief explanation for its objection

in writing. No disclosure shall take place until the five (5) day period has elapsed without an

objection by the Producing Party, or until an objection made by the Producing Party within the

five (5) day period has been resolved.

                              i.          The Parties agree to promptly confer and use good faith

to resolve any such objection. If the Parties are unable to resolve any objection, the Receiving

Party may file a motion with the Court within five (5) days of the notice, or within such other time

as the Parties may agree, seeking a protective order with respect to the proposed disclosure. No

disclosure shall occur until all such objections are resolved by agreement or Court order.

                             ii.          In the absence of an objection at the end of the five (5) day

period, the Non-Party shall be deemed approved under this Protective Order, but only to view the

specific documents identified by the Receiving Party required by 7.2(e)(1)(iv).

                       (4)         Disclosure under 7.2(e) shall be limited to two (2) individuals per

side. However, if any Party desires to add an additional Non-Party pursuant to the Procedures of

this § 7.2(d), it may do so by agreement or, in the absence of agreement by court order, upon a

showing of good cause as to why disclosure to the additional Non-Party is necessary;

                       (5)         For clarity, 7.2(e) does not apply to experts.

               (f)     the court and its personnel;

                                                     19
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 15 of 27 PageID #: 1011
               (g)     court reporters and their staff;

               (h)     professional jury or trial consultants, mock jurors, and Professional Vendors

to whom disclosure is reasonably necessary for this Action and who have signed the

“Acknowledgment and Agreement to Be Bound” (Exhibit A);

               (i)     the author, recipient, or custodian of a document containing the information;

               (j)     during their depositions, witnesses, and attorneys for witnesses, in the

Action to whom disclosure is reasonably necessary, provided the witness signs the

“Acknowledgement and Agreement to Be Bound” (Exhibit A). Pages of transcribed deposition

testimony or exhibits to depositions that reveal Protected Material may be separately bound by the

court reporter and may not be disclosed to anyone except as permitted under this Stipulated

Protective Order;

               (k)     any mediator or settlement officer, and their supporting personnel, mutually

agreed upon by any of the parties engaged in settlement discussions, provided that such persons

have first been given a copy of this Order and have executed the “Acknowledgment and Agreement

to Be Bound” (Exhibit A); and

               (l)     any other persons as to whom all the Parties agree in writing, provided that

such persons have first been given a copy of this Order and have executed the “Acknowledgment

and Agreement to Be Bound” (Exhibit A). The Parties agree to consider such requests in good

faith. No disclosure to such other persons shall take place until all the Parties agree in writing.

       7.3     Disclosure of Protected Material Designated “CONFIDENTIAL – COUNSEL’S

EYES ONLY.” Unless ordered by the Court or permitted in writing by the Designating Party, a

Receiving Party may disclose any information or item designated “CONFIDENTIAL –

COUNSEL’S EYES ONLY,” only to:



                                                  20
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 16 of 27 PageID #: 1012
       a) the Receiving Party’s Outside Counsel of Record and the Receiving Party’s House

          Counsel (as defined above) and their immediate paralegals and staff, and any

          copying or clerical litigation support services working at the direction of such

          counsel, paralegals, and staff;

       b) Experts of the Receiving Party to whom disclosure is reasonably necessary for this

          Action and who have signed the “Acknowledgment and Agreement to Be Bound”

          (Exhibit A), subject to the requirements of Section 7.2(d)(1)-(3).

       c) the court and its personnel provided appropriate measures are taken to avoid public

          disclosure (including filing under seal) absent written consent of the Producing

          Party;

       d) court reporters and their staff provided appropriate measures are taken to avoid

          public disclosure (including filing under seal) absent written consent of the

          Producing Party;

       e) professional jury or trial consultants, mock jurors, and Professional Vendors to

          whom disclosure is reasonably professional jury or trial consultants, mock jurors,

          and Professional Vendors to whom disclosure is reasonably necessary for this

          Action and who have signed the “Acknowledgment and Agreement to Be Bound”

          (Exhibit A);

       f) the author, recipient, or custodian of a document containing the information;

       g) any mediator or settlement officer, and their supporting personnel, mutually agreed

          upon by any of the parties engaged in settlement discussions, provided that such

          persons have first been given a copy of this Order and have executed the

          “Acknowledgment and Agreement to Be Bound” (Exhibit A); and



                                            21
Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 17 of 27 PageID #: 1013
           h) any other persons as to whom all the Parties in writing agree, provided that such

               persons have first been given a copy of this Order and have executed the

               “Acknowledgment and Agreement to Be Bound” (Exhibit A). The Parties agree to

               consider such requests in good faith. No disclosure to such other persons shall take

               place until all the Parties agree in writing.

8.     DISCOVERY OF EXPERT MATERIALS.

       Drafts of reports of testifying Experts, and reports and other written materials, including

drafts, of consulting Experts, shall not be discoverable. The identity of consulting Experts shall

also not be discoverable unless either their opinions are relied upon by any testifying Expert or the

exceptions in Federal Rule of Civil Procedure 26(b)(4)(D) otherwise apply; provided for the sake

of clarity that disclosure of Protected Material to consulting Experts is still governed by the

provisions of this Order regarding Experts. Testifying Experts shall not be subject to discovery

with respect to any draft of his or her report(s) in this Action. Draft notes or outlines for draft

reports developed and drafted by the testifying expert and/or his or her staff are also exempt from

discovery. Discovery of materials provided to testifying Experts shall be limited to those materials,

facts, consulting expert opinions, and other matters actually relied upon by the testifying Expert in

forming his or her final report, trial, or deposition testimony or any opinion in this Action. No

discovery can be taken from any non-testifying Expert except to the extent that such non-testifying

Expert has provided information, opinions, or other materials to a testifying Expert relied upon by

that testifying Expert in forming his or her final report(s), trial and/or deposition testimony or any

opinion in this Action. No conversations or communications between counsel and any testifying

or consulting Expert will be subject to discovery unless the conversations or communications are

relied upon by such experts in formulating opinions that are presented in final reports or trial or



                                                  22
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 18 of 27 PageID #: 1014
deposition testimony in this Action. All drafts, materials, communications, and other information

exempt from discovery under this paragraph shall be treated as attorney-work product for the

purposes of this Action and Order.

9.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

       LITIGATION

       If a Party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this Action as “CONFIDENTIAL” or

“CONFIDENTIAL – COUNSEL’S EYES ONLY,” that Party must:

               (a)     promptly notify in writing the Designating Party. Such notification shall

include a copy of the subpoena or court order;

               (b)     promptly notify in writing the party who caused the subpoena or order to

issue in the other litigation that some or all of the material covered by the subpoena or order is

subject to this Protective Order. Such notification shall include a copy of this Stipulated Protective

Order; and

               (c)     cooperate with respect to all reasonable procedures sought to be pursued by

the Designating Party whose Protected Material may be affected.

       If the Designating Party timely seeks a protective order, the Party served with the subpoena

or court order shall not produce any information designated in this action as “CONFIDENTIAL”

or “CONFIDENTIAL – COUNSEL’S EYES ONLY” before a determination by the court from

which the subpoena or order issued, unless the Party has obtained the Designating Party’s

permission. The Designating Party shall bear the burden and expense of seeking protection in that

court of its confidential material and nothing in these provisions should be construed as authorizing

or encouraging a Receiving Party in this Action to disobey a lawful directive from another court.



                                                 23
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 19 of 27 PageID #: 1015
10.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

         LITIGATION

               (a)     The terms of this Order are applicable to information produced by a Non-

Party in this Action and designated as “CONFIDENTIAL” or “CONFIDENTIAL – COUNSEL’S

EYES ONLY”. Such information produced by Non-Parties in connection with this litigation is

protected by the remedies and relief provided by this Order. Nothing in these provisions should be

construed as prohibiting a Non-Party from seeking additional protections.

               (b)     In the event that a Party is required, by a valid discovery request, to produce

a Non-Party’s confidential information in its possession, and the Party is subject to an agreement

with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

                       (1)    promptly notify in writing the Requesting Party and the Non-Party

that some or all of the information requested is subject to a confidentiality agreement with a Non-

Party;

                       (2)    promptly provide the Non-Party with a copy of the Stipulated

Protective Order in this Action, the relevant discovery request(s), and a reasonably specific

description of the information requested; and

                       (3)    make the information requested available for inspection by the Non-

Party, if requested.

               (c)     If the Non-Party fails to seek a protective order from this court within 14

days of receiving the notice and accompanying information, the Receiving Party may produce the

Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

seeks a protective order, the Receiving Party shall not produce any information in its possession

or control that is subject to the confidentiality agreement with the Non-Party before a



                                                 24
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 20 of 27 PageID #: 1016
determination by the court. Absent a court order to the contrary, the Non-Party shall bear the

burden and expense of seeking protection in this court of its Protected Material.

11.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

 Material to any person or in any circumstance not authorized under this Stipulated Protective

 Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

 unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

 Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

 made of all the terms of this Order, and (d) request such person or persons to execute the

 “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

12.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

       MATERIAL

               (a)     When a Producing Party gives notice to Receiving Parties that certain

inadvertently produced material is subject to a claim of privilege or other protection, the

obligations of the Receiving Parties are those set forth in Federal Rule of Civil Procedure

26(b)(5)(B), as modified below (deletions struck through; additions underlined):

               (b)     Information Produced. If information produced in discovery is subject to a

claim of privilege or of protection as trial-preparation material, the party making the claim may

notify any party that received the information of the claim and the basis for it. After being notified,

a party must promptly return, sequester, or destroy the specified information and any copies it has;

must not use or disclose the information until the claim is resolved; must take reasonable steps to

retrieve and return or destroy the information if the party disclosed it before being notified; and

may promptly present the information any challenge to the privilege claim to the court pursuant to



                                                  25
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 21 of 27 PageID #: 1017
Local Rule 37.01 under seal for a determination of the claim. The producing party must preserve

the information until the claim is resolved.

               (c)     This provision is not intended to modify whatever procedure may be

established in an e-discovery order that provides for production without prior privilege review.

               (d)     Pursuant to Federal Rule of Evidence 502(d) and (e), the parties have

reached an agreement on the effect of disclosure of a communication or information covered by

the attorney-client privilege or work product protection, as follows: The Parties anticipate that

significant volumes of documents and information will be produced and that there is a risk that,

despite the exercise of reasonable steps to prevent disclosure, material subject to a claim of

privilege may be produced. Rule 502(d) provides that a “federal court may order that the privilege

protection is not waived by disclosure connected with the litigation pending before the court – in

which event the disclosure is also not a waiver in any other federal or state proceeding.” Fed. R.

Evid. 502(d). Rule 502(d); see also Automated Solutions Corp. v. Paragon Data Systems, Inc., 756

F.3d 504, 518 n.6 (6th Cir. 2014) (noting that such “claw-back agreements are generally

enforceable, see Fed. R. Evid. 502(e)”). Accordingly, the Parties’ stipulated Rule 502(d) order is

hereby incorporated into this Stipulated Protective Order.

13.    MISCELLANEOUS

       13.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the Court in the future.

       13.2    Right to Assert Other Objections. By stipulating to the entry of this Protective

Order, no Party waives any right it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no




                                                    26
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 22 of 27 PageID #: 1018
Party waives any right to object on any ground to use in evidence of any of the material covered

by this Protective Order.

       13.3    Filing Protected Material. The Parties will comply with Administrative Order No.

167-1 regarding the filing and use of Protected Material. Consistent with this Order, before filing

with the Court any transcript, exhibit, pleading, brief, or other document containing information

designated as Protected Material, the Parties will seek approval of the Court for filing such

Protected Material under seal or, if the material has been designated by another Party, provide the

Producing Party with a minimum of three (3) business days’ notice prior to filing, in order to allow

the Producing Party an opportunity to seek approval of the Court to file such Protected Material

under seal. Protected Material may only be filed under seal pursuant to a court order authorizing

the sealing of the specific Protected Material at issue. If a Party’s request to file Protected Material

under seal is denied by the court, then the Receiving Party may file the information in the public

record unless otherwise instructed by the Court.

14.    FINAL DISPOSITION

       After the final disposition of this Action, within 60 days of a written request by the

Designating Party, each Receiving Party must return all Protected Material to the Producing Party

or destroy such material. As used in this subdivision, “all Protected Material” includes all copies,

abstracts, compilations, summaries and any other format reproducing or capturing any of the

Protected Material. Whether the Protected Material is returned or destroyed, upon written request

by the Producing Party, the Receiving Party must submit a written certification to the Producing

Party (and, if not the same person or entity, to the Designating Party) by the 60 day deadline that

(1) identifies (by category, where appropriate) all the Protected Material that was returned or

destroyed and (2) affirms that the Receiving Party has not retained any copies, abstracts,



                                                  27
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 23 of 27 PageID #: 1019
compilations, summaries or any other format reproducing or capturing any of the Protected

Material. Notwithstanding this provision, Counsel are entitled to retain (1) an archival copy of all

pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

and expert work product, even if such materials contain Protected Material; and (2) any copies of

Protected Material created by the routine operation of backup procedures for a Party’s or a Party’s

Counsel’s information storage systems. Any such archival copies that contain or constitute

Protected Material remain subject to this Protective Order.

15.    VIOLATION

       Any violation of this Order may be punished by appropriate measures including, without

limitation, contempt proceedings and/or monetary sanctions. In the event motion practice is

required to enforce the terms of this Order, and a party is found by the Court to have willfully

violated the terms of this Order, the prevailing party on such a motion shall be awarded costs,

expenses, and fees, including attorney or other professional fees, incurred in connection with the

discovery of the violation and the preparation, filing, and arguing of the motion or any other

proceedings resulting from the violation.



                                                         ________________________________
                                                         ALETA A. TRAUGER
                                                         U.S. DISTRICT JUDGE




                                                28
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 24 of 27 PageID #: 1020
IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

Dated: September 14, 2020                    Respectfully Submitted,

By: /s/ Richard S. Busch                     By: /s/ Aubrey B. Harwell III
Richard S. Busch (BPR # 14594)               Aubrey B. Harwell III (BPR #017394)
KING & BALLOW                                Marie T. Scott (BPR # 032771)
315 Union Street, Suite 1100                 NEAL & HARWELL, PLC
Nashville, TN 37201                          1201 Demonbreun Street, Suite 1000
Telephone: (615) 726-5422                    Nashville, TN 37203
Facsimile: (615) 726-5417                    Telephone: (615) 238-3526
Email: rbusch@kingballow.com                 Facsimile: (615) 726-0573
                                             tharwell@nealharwell.com
Attorney for Plaintiffs Eight Mile           mscott@nealharwell.com
Style, LLC and Martin Affiliated, LLC        Allison Levine Stillman (pro hac vice)




                                        29
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 25 of 27 PageID #: 1021
By: /s/ Timothy L. Warnock                       Matthew D. Ingber (pro hac vice)
Timothy L. Warnock (BPR # 12844)                 Rory K. Schneider (pro hac vice)
Keane A. Barger (BPR # 33196)                    MAYER BROWN LLP
RILEY WARNOCK & JACOBSON, PLC                    1221 Avenue of the Americas
1906 West End Avenue                             New York, NY 10020
Nashville, TN 37203                              Telephone: (212) 506-2500
Telephone: (615) 320-3700                        mingber@mayerbrown.com
twarnock@rwjplc.com                              astillman@mayerbrown.com
kbarger@rwjplc.com                               rschneider@mayerbrown.com

Brian D. Caplan (pro hac vice)                   Andrew J. Pincus (pro hac vice)
Robert W. Clarida (pro hac vice)                 Archis A. Parasharami (pro hac vice)
REITLER KAILAS & ROSENBLATT LLC                  MAYER BROWN LLP
885 Third Avenue, 20th Floor                     1999 K Street, N.W.
New York, NY 10022                               Washington, D.C. 20006
Telephone: (212) 209-3050                        Telephone: (202) 263-3328
bcaplan@reitlerlaw.com                           apincus@mayerbrown.com
rclarida@reitlerlaw.com                          aparasharami@mayerbrown.com

Attorneys for Third-Party Defendant              Kathleen M. Sullivan (pro hac vice)
Kobalt Music Publishing America, Inc.            Carey R. Ramos (pro hac vice)
                                                 Cory Struble (pro hac vice)
                                                 QUINN EMANUEL URQUHART &
By: /s/ Jay S. Bowen                             SULLIVAN, LLP
Jay S. Bowen (BPR # 02649)                       51 Madison Avenue, 22nd Floor
Lauren E. Kilgore (BPR # 030219)                 New York, NY 10010
SHACKELFORD, BOWEN, MCKINLEY                     Telephone: (212) 895-2500
& NORTON, LLP                                    kathleensullivan@quinnemanuel.com
1 Music Circle South                             careyramos@quinnemanuel.com
Suite 300
Nashville, TN 37203                              Thomas C. Rubin (pro hac vice)
Telephone: (615) 329-4440                        QUINN EMANUEL URQUHART &
jbowen@shackelford.law                           SULLIVAN, LLP
lkilgore@shackelford.law                         600 University Street, Suite 2800
                                                 Seattle, WA 98101
Attorneys for Defendant Harry Fox Agency,        Telephone: (206) 905-7000
LLC                                              tomrubin@quinnemanuel.com

                                                 Attorneys for Defendant and Third-Party
                                                 Plaintiff Spotify USA Inc.




                                            30
 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 26 of 27 PageID #: 1022
                                             EXHIBIT A

                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

        I,                                                                 [print or type full name],

of                                                   [print or type full address, email address, and

telephone number], declare under penalty of perjury that I have read in its entirety and understand

the Stipulated Protective Order that was issued by the United States District Court for the Middle

District of Tennessee on              [date] in Eight Mile Style, LLC v. Spotify USA Inc., No. 3:19-

cv-00736.

        I agree to comply with and to be bound by all the terms of this Stipulated Protective Order,

and I understand and acknowledge that failure to so comply could expose me to sanctions and

punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner

any information or item that is subject to this Stipulated Protective Order to any person or entity

except in strict compliance with the provisions of this Order.

        I further agree to submit to the jurisdiction of the United States District Court for the Middle

District of Tennessee for enforcing the terms of this Stipulated Protective Order, even if such

enforcement proceedings occur after termination of this Action.

        I hereby appoint                                            [print or type full name] of

                                         [print or type full address, email address, and telephone

number] as my Tennessee agent for service of process in connection with this action or any

proceedings related to enforcement of this Stipulated Protective Order.

Date:

City and State where sworn and signed:

Printed name:

Signature:



 Case 3:19-cv-00736 Document 124 Filed 09/15/20 Page 27 of 27 PageID #: 1023
